Case 1:20-cv-21516-MGC Document 136 Entered on FLSD Docket 07/21/2022 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         Case No. 20-21516-Civ-COOKE/GOODMAN

 MARIE ALTIDOR,

        Plaintiff,

 vs.

 CARNIVAL CORPORATION,

       Defendant.
 ____________________________________/
                          ORDER ADMINISTRATIVELY CLOSING
                           CASE ON NOTICE OF SETTLEMENT
        THIS MATTER is before the Court on the Parties’ Joint Notice of Settlement (ECF No.
 134). The parties have settled this matter, and it will be administratively closed pending the
 parties filing a stipulation of final dismissal under Federal Rule of Civil Procedure
 41(a)(1)(A)(ii) or moving for dismissal under Rule 41(a)(2).
        A stipulation of final dismissal, or a motion for dismissal, must be filed within 30 days of
 this Order. In the event a stipulation of final dismissal is filed under Federal Rule of Civil
 Procedure 41(a)(1)(A)(ii), and the parties desire the Court to have continuing jurisdiction to
 enforce the terms of the settlement agreement, they must condition the effectiveness of the
 stipulation on this Court’s entry of an order retaining jurisdiction. See Anago Franchising, Inc. v.
 Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).
        The Clerk will administratively CLOSE this case.         All pending motions, if any, are
 DENIED as moot. All scheduled court dates, including the July 27, 2022 Calendar Call and the
 August 1, 2022 Trial, are CANCELLED.
        DONE and ORDERED in Chambers, in Miami, Florida, this 21st day of July 2022.




 Copies provided to:
 Jonathan Goodman, U.S. Magistrate Judge
 Counsel of Record
